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 7
                                      NORTHERN DISTRICT OF CALIFORNIA
 8

 9
     KAREN COLLYER, an individual;                          CASE NO.: 4:23-cv-00296-HSG
10
                         Plaintiff,
11                                                          PLAINTIFF’S OPPOSITION TO
            v.                                              DEFENDANT CATALINA SNACKS
12                                                          INC.’S MOTION TO DISMISS
     CATALINA SNACKS INC., a Delaware                       PLAINTIFF’S COMPLAINT
13   Corporation;
                                                            Date: June 29, 2023
14                        Defendant.                        Time: 2:00 p.m.
                                                            Place: Courtroom 2
15
                                                            Hon. Haywood S. Gilliam, Jr.
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 1             Karen Collyer (“Plaintiff”) through undersigned counsel, files this response in opposition to

 2   Defendant Catalina Snacks Inc.’s (“Defendant”) Motion to Dismiss Plaintiff’s Complaint (Dkt. No. 16,

 3   “Def. Br.” or “Defendant’s Motion”). As explained below, Defendant’s Motion lacks merit and warrants

 4   denial.

 5                                             I. INTRODUCTION
 6             This is a straightforward case. Defendant sells high-priced cereals characterized by premium,

 7   healthy ingredients (e.g., bananas and apples). The ingredients are prominently featured on the principal

 8   display panel, leading consumers to believe the cereals contain those ingredients. However, Defendant’s

 9   cereals do not contain the characterizing ingredients. Instead, they merely taste like they do thanks to

10   scientist-concocted “natural flavors.” Thus, reasonable consumers, including Plaintiff, are deceived by

11   Defendant’s labeling.

12             The law is clear and intended to prevent these shenanigans. Where a food’s label “makes any

13   direct or indirect representations with respect to the primary recognizable flavor(s)” but contains only

14   “natural flavor …. the name of the characterizing flavor … shall be immediately followed by the word

15   ‘flavored[.]’” 21 C.F.R. §101.22 (i) (emphasis added). These uniform labeling requirements exist

16   because “[t]he difference between a product that contains a characterizing food ingredient and a product

17   that contains no such ingredient … is very important to the value of the product and thus to the

18   consuming public.” 38 Fed. Reg. 33,285 (December 3, 1973).
19             As alleged in Plaintiff’s Complaint (Dkt. No. 1, “Compl.”), Defendant has flouted the rules to

20   deceive customers and gain an unearned advantage over its law-abiding competitors. Notably,

21   Defendant’s motion barely even attempts to argue that Defendant’s conduct was lawful. Instead, at

22   bottom, Defendant offers little beyond victim blaming: the contention that no reasonable consumer would

23   fall victim to its scheme.

24             Courts throughout this Circuit and District have rejected Defendant’s arguments in

25   indistinguishable cases. This Court should follow suit and deny Defendant’s Motion.1

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     1
      Plaintiff opposes Defendant’s Motion except as to section IV(F) of Defendant’s brief, as Plaintiff
28   acknowledges punitive damages are unavailable under the FAL.
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                                         II. FACTUAL BACKGROUND
 1
             Defendant sells “keto friendly” cereals that it claims are “healthier” than other products and made
 2
     with “real ingredients.” Compl. at ¶ 26. The cereals are sold in several varieties under the “Catalina
 3
     Crunch” brand for around $7 to $10 a bag. Id. at ¶ 27. This case challenges the labeling for the “Chocolate
 4
     Banana”, “Honey Graham”, “Mint Chocolate” and “Apple Cider Donut” varieties (“the Products” or
 5
     “Defendant’s Products”), because they contain no banana, honey, mint, or apple or apple cider,
 6
     respectively. Id. at ¶¶ 30-36. Instead, they merely simulate the presence of those ingredients using “natural
 7
     flavors”, (Id.), a catchall that often functions as a trojan horse for undesirable solvents, modifiers, and
 8
     additives, such as propylene glycol. Id. at ¶¶ 14-15.
 9
             The principal display panel of Catalina Crunch cereal (i.e., the fronts of the bag) states the name
10
     of the characterizing ingredient in large letters. Id. at ¶¶ 30-36. The front of the “Chocolate Banana” bag
11
     showcases banana slices mixed with the cereal in a bowl, the “Apple Cider Donut” bag features an apple,
12
     and the “Mint Chocolate” bag shows a mint leaf amongst the cereal in a bowl. Id. at ¶¶ 31, 34-35. The
13
     color scheme of the “Honey Graham” bag invokes honey. Id. at ¶ 36.
14
             Catalina Crunch’s principal display panels do not say that the Products are flavored. Rather, that
15
     information is relegated to the small-print ingredient list on the back of the bag. Id. at ¶¶ 33-36. That
16
     stands in stark contrast with the cereal brands that compete with Catalina Crunch on grocery store shelves,
17
     such as Simple Truth Keto cereals, which include the phrase “naturally flavored” on the front of the bag
18
     in large letters. Id. at ¶ 44.
19
             Defendant has been sued before for mislabeling its cereal. Id. at ¶ 46. However, instead of fixing
20
     labeling to comply with federal and state law, Defendant opted to stay the course on noncompliance, and
21
     even launched a new, mislabeled Catalina Crunch variety, the “Apple Cider Donut.” Id.
22
             Plaintiff purchased the “Chocolate Banana” and “Honey Graham” varieties during 2022. Id. at ¶
23
     49. At the time of purchase, she believed from the representations on the principal display panel that the
24
     Products contained banana and honey, respectively. Id. at ¶ 50. She would not have purchased the
25
     Products, or would have only been willing to pay less, had she known the truth. Id. at ¶ 52.
26
                                            III. LEGAL STANDARD
27
             “It is axiomatic that the motion to dismiss is viewed with disfavor and is rarely granted.” Ernst
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                                                          2
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 1   and Haas Management Company, Inc. v. Hiscox, Inc., 23 F.4th 1195, 1199 (9th Cir. 2022) (citing

 2   McDougal v. Cnty. of Imperial, 942 F.2d 668, 676 n.7 (9th Cir. 1991)) (quotations and ellipses omitted).

 3   “Dismissal under Rule 12(b)(6) is appropriate only where the complaint lacks a cognizable legal theory

 4   or sufficient facts to support a cognizable legal theory.” Mendiondo v. Centinela Hosp. Med. Ctr., 521

 5   F.3d 1097, 1104 (9th Cir. 2008). Such motions should thus be denied unless “it appears beyond doubt

 6   that [the] plaintiff can prove no set of facts in support of its claims which would entitle it to relief.” City

 7   of Almaty v. Khrapunov, 956 F.3d 1129, 1131 (9th Cir. 2020). “In deciding whether the plaintiff has stated

 8   a claim upon which relief can be granted, the Court accepts the plaintiff’s allegations as true and draws

 9   all reasonable inferences in favor of the plaintiff.” Earth Island Institute v. Wheeler, 464 F.Supp.3d 1138,

10   1141 (N.D. Cal. 2020).

11          Whether a business practice is deceptive under California consumer protection laws generally

12   requires the “weighing of evidence” from both sides and is “usually a question of fact that is inappropriate

13   for decision on demurrer or a motion to dismiss.” Organic Consumers Association v. Sanderson Farms,

14   Inc. 284 F.Supp.3d 1005, 1014 (N.D. Cal. 2018) (quoting Williams v. Gerber Prod. Co., 552 F.3d 934

15   (9th Cir. 2008).

16          If a motion to dismiss is granted, a court “should grant leave to amend even if no request to amend

17   the pleading was made, unless it determines that the pleading could not possibly be cured by the allegation

18   of other facts.” Lopez v. Smith, 203 F.3d 1122, 1130 (9th Cir. 2000) (quotation marks and citation
19   omitted).

20                                                IV. ARGUMENT
21          A.      Plaintiff Has Standing To Represent Purchasers Of The “Apple Cider
                    Donut” and “Mint Chocolate” Products.
22
            Defendant first asks the Court to narrow the scope of the putative class to exclude purchasers of
23
     the “Apple Cider Donut” and “Mint Chocolate” varieties of Catalina Crunch. According to Defendant,
24
     that drastic relief is appropriate at the motion to dismiss stage because Plaintiff did not purchase those
25
     products. Def. Br. at 7. Defendant’s arguments lack merit.
26
                    1.      The Substantially Similar Test Applies.
27
            “The majority of the courts that have carefully analyzed the question hold that a plaintiff may have
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 1   standing to assert claims for unnamed class members based on products he or she did not purchase so

 2   long as the products and alleged misrepresentations are substantially similar.” Miller v. Ghirardelli

 3   Chocolate Co., 912 F. Supp. 2d 861, 869 (N.D. Cal. 2012). As Defendant acknowledges, that was also

 4   the conclusion reached recently by this Court. See Yamasaki v. Zicam LLC, No. 21-CV-02596-HSG, 2021

 5   WL 4951435, at *2 (N.D. Cal. Oct. 25, 2021) (“The Court agrees with Judge Orrick of this district that

 6   ‘the best approach is one which focuses on whether the type of claim and consumer injury is substantially

 7   similar as between the purchased and unpurchased products.’” (quoting Ang v. Bimbo Bakeries USA, Inc.,

 8   No. 13-CV-01196-WHO, 2014 WL 1024182, at *4-8 (N.D. Cal. Mar. 13, 2014))).

 9          Admittedly, a handful of courts in this Circuit have reached a different conclusion. See, e.g.,

10   Lorentzen v. Kroger Co., 532 F. Supp. 3d 901, 908 (C.D. Cal. 2021). However, Plaintiff submits that the

11   majority approach is more closely aligned with case law from the Court of Appeals on class action

12   standing. See Armstrong v. Davis, 275 F.3d 849, 867 (9th Cir. 2001) (“We must be careful not to employ

13   too narrow or technical an approach. Rather, we must examine the questions realistically: we must reject

14   the temptation to parse too finely, and consider instead the context of the inquiry.”) (abrogated on other

15   grounds by Johnson v. California, 543 U.S. 499, 504-05 (2005)).

16                  2.     The Unpurchased And Purchased Products Are Substantially
                           Similar.
17
            Applying the substantially similar test, Plaintiff has standing to champion the rights of consumers
18
     who purchased the “Mint Chocolate” and “Apple Cider Donut” varieties. To determine whether products
19
     are substantially similar, “[f]actors … courts have considered include whether the challenged products
20
     are of the same kind, whether they are comprised of largely the same ingredients, and whether each of the
21
     challenged products bears the same alleged mislabeling.” Wilson v. Frito-Lay North America, Inc., 961
22
     F.Supp.2d 1134, 1141 (N.D. Cal. 2013). Along those lines, “[c]ourts have found substantial similarity …
23
     where (1) the products are physically similar; (2) the differences between the products are immaterial
24
     because the legal claim and injury to the customer are the same; and (3) both the products and the legal
25
     claims and injury are similar.” Yamasaki, 2021 WL 4951435 at *2 (citing Ang, 2014 WL 1024182 at *4-
26
     8).
27
            Here, the Products are all varieties of Catalina Crunch cereal. The bags are almost identical—they
28

                                                        4
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 1   claim to have the same sugar, protein, and fiber content and use the same overall design layout. Moreover,

 2   they have largely the same ingredients. See Compl. at ¶¶ 33-36. For example, two of the cereals, the

 3   “Chocolate Banana” (which Plaintiff did purchase) and the “Mint Chocolate” appear to have identical

 4   ingredient lists. Compare id. at ¶ 33 with id. at ¶ 35. Likewise, the ingredient list for “Apple Cider Donut”

 5   differs from “Chocolate Banana” and “Mint Chocolate” by one ingredient as it contains cinnamon in lieu

 6   of cocoa powder. Compare id. at ¶¶ 33, 35 with id. at ¶ 34.

 7          Likewise, the Products suffer from the same mislabeling, and liability hinges on the same legal

 8   theories. The “Mint Chocolate” and “Apple Cider Donut” prominently showcase an ingredient by name

 9   and vignette that they do not contain, just like the “Chocolate Banana” variety does. The central questions

10   in this litigation boil down to: (1) for Plaintiff’s fraud-based claims, whether a reasonable consumer would

11   think they are purchasing a product that contains that ingredient (as Plaintiff alleges), or just a product

12   that contains that ingredient’s flavor (as Defendant argues); and (2) for Plaintiff’s UCL unlawful prong

13   claims, whether Defendant’s labeling complied with the Sherman Law.

14          Notably, a Southern District court recently found the test satisfied where the plaintiffs “allege[d]

15   substantially the same ‘labeling infirmity’ on all of Defendant's ‘fruit’ beverages.” In Ruiz v. Celsius

16   Holdings, Inc., No. 321CV00128GPCKSC, 2021 WL 5811264, at *4 (S.D. Cal. July 28, 2021). The

17   infirmity alleged there is the same one Plaintiff alleges here: a naturally flavored product with a principal

18   display panel that omits the word flavored. In contrast to Ruiz’s persuasive reasoning, Defendant offers
19   little beyond the ipse dixit assertion that the Products are “obviously not substantially similar[.]” Def. Br.

20   at 2. Likewise lacking in elaboration is Defendant’s claim that “[w]hat a consumer may or may not expect

21   in a cereal labeled ‘Apple Cider Donut’ is not the same issue as what a consumer may or may not expect

22   in a cereal labeled ‘Chocolate Banana.’” Id. at 8. As discussed above, the core misrepresentation is

23   identical across the challenged products. Defendant’s motion should be denied.

24          B.      Plaintiff May Pursue Her Equitable And Legal Claims.
25                  1.      Plaintiff’s Equitable Claims Are Not Subject To A Heightened
                            Pleading Standard.
26
            Defendant contends that Plaintiff’s equitable claims must be dismissed because the Complaint
27
     does not “plead facts establishing legal remedies are inadequate.” Def. Br. at 9 (emphasis original).
28

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 1   However, as discussed below, that is not required at this stage in the case.

 2              Defendant basis its argument primarily on Sonner v. Premier Nutrition Corp., 971 F.3d 834 (9th

 3   Cir. 2020). There, “[o]n the brink of trial after more than four years of litigation, [the plaintiff] voluntarily

 4   dismissed her sole state law damages claim and chose to proceed with only state law equitable claims for

 5   restitution and injunctive relief. A singular and strategic purpose drove this maneuver: to try the class

 6   action as a bench trial rather than to a jury.” Id. at 837. “The district court rejected this ploy, and dismissed

 7   the plaintiff’s claims for restitution because damages had been available.” Starratt v. Fermented Scis.,

 8   Inc., No. 22-CV-03895-HSG, 2023 WL 359500, at *3 (N.D. Cal. Jan. 23, 2023).

 9             As this Court noted, “Sonner repeatedly highlights the odd procedural posture of that case.” Id.

10   Since it was decided, “[c]ourts in the Ninth Circuit are divided on how exacting of a standard Sonner

11   imposes on plaintiffs who plead claims for equitable and legal remedies at the pleading stage.” Jeong v.

12   Nexo Fin. LLC, No. 21-CV-02392-BLF, 2022 WL 174236, at *27 (N.D. Cal. Jan. 19, 2022). “Some courts

13   have read Sonner to create heightened pleading requirements for equitable claims. Others have found that

14   plaintiffs need only allege that they lack an adequate legal remedy or that they plead their claims in the

15   alternative.” Carroll v. Myriad Genetics, Inc., No. 4:22-CV-00739-YGR, 2022 WL 16860013, at *6 (N.D.

16   Cal. Nov. 9, 2022).

17             Plaintiff respectfully suggests that this Court follow Carroll and hold that “the latter approach [is]

18   more persuasive.” Id. See also, Johnson v. Trumpet Behav. Health, LLC, No. 3:21-CV-03221-WHO, 2022
19   WL 74163, at *3 (N.D. Cal. Jan. 7, 2022) (“because Sonner was decided at a later posture ... if a plaintiff

20   pleads that she lacks an adequate legal remedy, Sonner will rarely (if ever) require more this early in the

21   case”); Jeong, 2022 WL 174236 at *27 (“The Court finds that Sonner has limited applicability to the

22   pleading stage because it pertained to circumstances in which a plaintiff dropped all damages claims on

23   the eve of trial.”); Sagastume v. Psychemedics Corp., No. CV206624DSFGJSX, 2020 WL 8175597, at

24   *7 (C.D. Cal. Nov. 30, 2020) (“Sonner does not hold that plaintiffs may not seek alternative remedies at

25   the pleading stage.”); Nacarino v. Chobani, LLC, No. 20-CV-07437-EMC, 2022 WL 344966, at *9-10

26   (N.D. Cal. Feb. 4, 2022), motion to certify appeal denied, No. 20-CV-07437-EMC, 2022 WL 833328

27   (N.D. Cal. Mar. 21, 2022) (collecting cases that agree with limiting Sonner’s application at the pleading

28   stage).

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 1          Defendant argues that the Ninth Circuit’s decision in Guzman v. Polaris Industries Inc., 49 F.4th

 2   1308 (9th Cir. 2022) “rejected the idea that Sonner’s outcome somehow depended on its procedural

 3   posture.” Def. Br. at 10. But as Judge Rogers recently held, “Guzman, which addresses a motion for

 4   summary judgment, does not require that this Court dismiss plaintiff’s equitable claims” at the pleadings

 5   stage. Carroll, 2022 WL 16860013 at *6.

 6          Plaintiff acknowledges that a simple complaint amendment may be appropriate to: (1) clarify that

 7   Plaintiff’s claims are pled in the alternative as allowed by Federal Rule of Civil Procedure 8; and (2)

 8   allege that her legal remedies are inadequate.2 See, e.g., Brown v. Van's Int'l Foods, Inc., No. 22-CV-

 9   00001-WHO, 2022 WL 1471454, at *13 (N.D. Cal. May 10, 2022) (“It will suffice at the pleading stage

10   for plaintiff to plead that her legal remedies are inadequate or plead equitable claims in the alternative

11   because her legal remedies are inadequate.”). However, to the extent Defendant invites the Court to

12   impose a heightened pleading standard on Plaintiff’s claims for equitable relief, that invitation should be

13   declined.

14                  2.      Plaintiff’s UCL Unlawful Claim Is Based On A Distinct Legal
                            Theory.
15
            Defendant’s request for dismissal also fails as to Plaintiff’s UCL unlawful prong claim, as that
16
     claim is predicated in part on Defendant’s violation of California’s Sherman Law. “[A]s this Court has
17
     previously explained, Sonner ‘did not purport to disturb the well-established rule that equitable and
18
     damages claims may coexist when they are based on different theories.’” Starratt, 2023 WL 359500 at
19
     *3, citing Brown v. Natures Path Foods, Inc., No. 21-CV-05132-HSG, 2022 WL 717816, at *6, n.15
20
     (N.D. Cal. Mar. 10, 2022).
21
            C.      Plaintiff Plausibly Alleges Claims Under The UCL, FAL, and CLRA.
22
            The central thesis of Defendant’s Motion is that a reasonable consumer would understand that the
23
     names of its cereals “refer to a flavor, not an ingredient.” Def. Br. at 13 (emphasis original). Defendant is
24
     incorrect for several reasons.
25
                    1.      The Reasonable Consumer Standard Does Not Apply To
26                          Plaintiff’s UCL Unlawful Claims.
27
     2
       Plaintiff notes that such an amendment could have been accomplished without the Court’s
28   involvement, had Defendant met and conferred with Plaintiff prior to filing its motion.
                                                          7
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 1          According to Defendant, Plaintiff cannot “state a claim under the CLRA, UCL or FAL,” as under

 2   those statutes “Plaintiff must allege facts establishing that the challenged statements or other

 3   representations on the Product label are likely to deceive a reasonable consumer.” Def. Br. at 11.

 4          Defendant paints with too broad a brush. The reasonable consumer standard argument does not

 5   apply to Plaintiff’s UCL unlawful claims. The only element for a UCL unlawful prong claim is the

 6   violation of a predicate law or regulation. The reasonable consumer standard is not an element of 21

 7   C.F.R. §101.22, and is not an element Sherman Act, which adopted the FDCA in its entirety. Accordingly,

 8   the reasonable consumer standard does not apply to Plaintiffs’ claim under the unlawful prong of the

 9   UCL. Bruton v. Gerber Prods. Co., 703 Fed. App’x 468, 471-72 (9th Cir. 2017) (“The best reading of

10   California precedent is that the reasonable consumer test is a requirement under the UCL’s unlawful prong

11   only when it is an element of the predicate violation”).

12                  2.      Plaintiff Has Plausibly Alleged That Reasonable Consumers
                            Would Be Misled.
13
            For the causes of action where the reasonable consumer standard does apply, all that is required
14
     is a probability “that a significant portion of the general consuming public or of targeted consumers, acting
15
     reasonably under the circumstances, could be misled.” Lavie v. Procter & Gamble Co., 105 Cal. App. 4th
16
     496, 495 (Ct. App. 2003). As discussed below, the allegations in the Complaint meet that threshold.
17
                            a.      Defendant’s Mislabeling Is Relevant.
18
            Defendant first attempts to downplay its habitual noncompliance with the FDCA and Sherman
19
     Law as irrelevant to whether its labels are deceptive. Def. Br. at 12. Defendant’s argument is wrong on
20
     its own terms. See, e.g., Trazo v. Nestle USA, Inc., No. 5:12-CV-2272 PSG, 2013 WL 4083218, at *10
21
     (N.D. Cal. Aug. 9, 2013), on reconsideration, 113 F. Supp. 3d 1047 (N.D. Cal. 2015) (while insufficient
22
     by themselves, “regulatory violations might suggest that these statements might be misleading[.]”);
23
     Delacruz v. Cytosport, Inc., No. C 11-3532 CW, 2012 WL 2563857, at *7 (N.D. Cal. June 28, 2012)
24
     (“The FDA regulations may lend objective criteria by which to determine whether certain words and
25
     phrases used on the labels are misleading.”). And more fundamentally, Defendant misses the point. As
26
     alleged in the Complaint:
27
            The uniform labeling system imposed by the FDA has been in place for decades, and
28          almost all products on grocery store shelves comply with it. The consuming public is
                                                         8
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            familiar with viewing, and differentiating, food products based on the product’s principal
 1          display panel. The reasonable consumer understands that a food product marked
            “flavored” refers to the flavor of the food. Likewise, when the word “flavored” is not
 2          present, reasonable consumers believe that the ingredients referred to on the principal
            display panel are contained in the product.
 3
     Compl. at ¶ 39 (emphasis added). In other words, Plaintiff alleges that the FDA’s uniform labeling
 4
     requirements have shaped consumer expectations. Indeed, that was why they were enacted 50 years ago.
 5
     See 38 Fed. Reg. 33286 (December 3, 1973) (“it is necessary to establish a uniform system of flavor
 6
     designation to dispel any confusion or misrepresentation.”). Defendant is not committing a technical
 7
     violation of an obscure regulation. Rather, Defendant deviates from a standard that consumers are exposed
 8
     to every time they visit a grocery store, and that Defendant’s competitors abide by. Defendant’s labeling
 9
     misleads not because it violates a regulation, but because it violates a norm.
10
                            b.      The Product Labels Could Mislead Reasonable
11                                  Consumers.
12          Plaintiff has pleaded facts establishing that Defendant’s Products mislead a reasonable consumer.

13   The Products’ principal display panels showcase ingredients the cereals do not contain. They do that by

14   name (in large capital letters), color, and (for all but the “Honey Graham” variety), photorealistic vignette.

15   Additionally, the Complaint alleges that the missing ingredients are especially desirable to the consumers

16   who Defendant targets with its purportedly healthful products. See Compl. at ¶¶ 27, 38. Plaintiff has

17   further alleged that the Products that compete with Catalina Crunch identify themselves as “flavored.” Id.

18   at ¶¶ 42-44. Courts throughout this Circuit have consistently denied motions to dismiss when presented
19   with analogous or less egregious facts.

20          In Williams, the Court of Appeals held that the reasonable consumer test was satisfied because:

21          [T]here are a number of features of the packaging Gerber used for its Fruit Juice Snacks
            product which could likely deceive a reasonable consumer. The product is called “fruit
22          juice snacks” and the packaging pictures a number of different fruits, potentially
            suggesting (falsely) that those fruits or their juices are contained in the product.
23
     552 F.3d at 939. Notably, the “Fruit Juice Snacks” in Williams were less misleading than Defendant’s
24
     Products, as they included the phrase “naturally flavored” on the principal display panel. Id. at 936.
25
     Williams is binding precedent, and Defendant’s Motion does not even acknowledge its existence, much
26
     less attempt to distinguish it. Since Williams was decided, a litany of district courts in this Circuit have
27
     denied motions to dismiss based on facts that mirror the present matter:
28

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 1   •   In Marino v. YummyEarth, Inc., No. 22-CV-02739-VC, 2022 WL 16912389, at *1 (N.D. Cal.

 2       Nov. 3, 2022), Judge Chhabria held that it was plausible that reasonable consumers would be

 3       misled where “the product name includes the term ‘fruit,’ and the packaging depicts a number of

 4       different fruits, potentially suggesting (falsely) that those fruits or their juices are contained in the

 5       product[.]” (quotation marks omitted));

 6   •   In Ruiz, 2021 WL 5811264, the court found dismissal inappropriate where “[t]he front labels on

 7       the beverages feature a name, such as ‘Sparkling Orange,’ and an image (or vignette) of the fruit

 8       identified by the name. ... However, the beverages do not contain the ingredient reflected in the

 9       name and vignette, but rather ‘natural flavor.’ Id. at *1. The court noted that the plaintiffs “alleged

10       facts suggesting that consumers rely on front-of-package representations to make their purchasing

11       decisions, that some seek out products that contain “real” ingredients, and that competing products

12       specifically identify if they are fruit “flavored,” … bolstering their allegation that a reasonable

13       consumer would be deceived.” Id. *6.;

14   •   In Schwartz v. Bai Brands, LLC, No. CV196249FMORAOX, 2020 WL 5875019 (C.D. Cal. July

15       31, 2020), the court was presented with “Cocofusion beverages” that did “not contain the actual

16       fruit ingredient of the second identified characterizing flavor, i.e., lime, pineapple, raspberry, and

17       mango.” Id. at *2. Those flavors were depicted by “words”, “vignettes”, and “color images”. Id.

18       at *5. The court ruled that the “plaintiff ha[d] plausibly alleged that consumers [were] likely to be
19       deceived by the labels on the Cocofusion beverages[.]” Id.;

20   •   In Saidian v. Krispy Kreme Doughnut Corp., No. 216CV08338SVWAFMX, 2017 WL 945083

21       (C.D. Cal. Feb. 27, 2017), the court found it “plausible that Plaintiff will be able to show that

22       reasonable consumers believe that “Raspberry-Filled” doughnuts are filled with raspberries,

23       “Maple Iced Glazed” and “Maple Bar” doughnuts contain maple syrup or maple sugar, and

24       “Glazed Blueberry Cake” doughnuts contain actual blueberries.” Id. at *3;

25   •   Finally, in Henderson v. Gruma Corp., 2011 WL 1362188 (C.D. Cal., Apr. 11, 2011), a

26       manufacturer argued that a guacamole dip’s label was not misleading because “the ingredients on

27       the nutrition label combine to produce a basic guacamole flavor.” Id. at *12 (quotation marks

28       omitted). The court rejected that argument because the manufacturer “labeled its product

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 1          ‘GUACAMOLE’ in large capital letters” and “prominently display[ed] large pictures of avocados

 2          on the front of the jar.” Id.

 3   The above cases are well-reasoned. Whether or not a jury ultimately finds that Defendant’s Products were

 4   misleadingly labeled, “[t]he facts of this case … do not amount to the rare situation in which granting a

 5   motion to dismiss is appropriate.” Williams, 552 F.3d at 939. See also, Linear Tech. Corp. v. Applied

 6   Materials, Inc., 152 Cal.App.4th 115, 134-35 (2007) (“Whether a practice is deceptive, fraudulent, or

 7   unfair is generally a question of fact which requires consideration and weighing of evidence from both

 8   sides and which usually cannot be made on [a motion to dismiss].” (internal quotation marks omitted)).

 9                          c.      Defendant’s Arguments Lack Merit.
10          As just discussed, Plaintiff’s consumer protection claims survive under the reasonable consumer

11   standard. The arguments advanced in Defendant’s Motion misconstrue the Complaint and are

12   contradicted by Ninth Circuit precedent.

13          First, Defendant points out that “[t]here is no allegation that the cereals do not taste as described”

14   and that Plaintiff “does not claim any dissatisfaction with their taste.” Def. Br. at 13. But how the Products

15   taste is irrelevant to the injury this case seeks to redress. Plaintiff purchased the Products because she

16   believed they “contained the fruits and the premium ingredients represented on the package[.]” Compl.

17   at ¶ 50 (emphasis added). Had Plaintiff known the truth, she “would not have bought it, and certainly

18   would not have paid a ‘premium’ for such a valued perceived benefit.” Wright v. Costco Wholesale Corp.,
19   No. 22-CV-04343-WHO, 2023 WL 210936, at *4 (N.D. Cal. Jan. 17, 2023) (quotation marks omitted).

20          Second, Defendant insists that consumers would know the Products do not contain the promised

21   ingredients because “the pieces of cereal depicted on the front of the packages are small, flat, slightly

22   concave squares.” Def. Br. at 15. But that makes no sense—ingredients like bananas, mint, honey, and

23   apples or apple cider can be ground up, mashed, or otherwise blended with the concave square batter.3

24
     3
       Defendant’s argument is predicated on incorrect statements in the factual allegations section of its
25   brief. Defendant says: “[b]y ‘banana,’ ‘apple,’ ‘mint,’ and ‘honey,’ [Plaintiff] means whole pieces of
     banana, apple (or apple cider), mint and honey, as opposed to the flavoring of banana, apple, mint or
26   honey.” Def. Br. at 6 (emphasis original). Defendant repeats this claim about “whole” ingredients later
     in the page, stating “Plaintiff alleges that, had she known that the Chocolate Banana and Honey Graham
27   cereals did not contain whole banana and honey, respectively, she ‘would not have purchased the
     Defendant’s cereals, or only been willing to pay less.’” Id. (emphasis added). But neither the paragraphs
28   in the Complaint Defendant cites nor any other paragraphs make mention of “whole” ingredients.
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 1          Third, Defendant blames the victim with its contention that reasonable consumers would know

 2   that “cereals containing 0g sugar” would not contain banana, apple, or honey, because those ingredients

 3   “contain sugar.” Def. Br. at 15. “But this is a factual assertion that depends on whether it is commonly

 4   known that it is not possible to make a sugar-free… [food] that includes any amount of fruit.” Ruiz, 2021

 5   WL 5811264 at *6. See also, Fitzhenry-Russell v. Coca-Cola Co., No. 5:17-CV-00603-EJD, 2017 WL

 6   4680073, at *3 (N.D. Cal. Oct. 18, 2017) (“Defendant contends that … a reasonable consumer would

 7   ‘understand that it is not physically possible to incorporate ginger root into a soft drink without first

 8   reducing it to ‘oils’ or ‘essences.’ … Whether a reasonable consumer would be deceived, however, is

 9   generally a question of fact not amenable to determination on a motion to dismiss.”). Moreover, the Ninth

10   Circuit has made clear it does not expect consumers to engage in detective work:

11          We disagree with the district court that reasonable consumers should be expected to look
            beyond misleading representations on the front of the box to discover the truth from the
12          ingredient list in small print on the side of the box. The ingredient list on the side of the
            box appears to comply with FDA regulations and certainly serves some purpose. We do
13          not think that the FDA requires an ingredient list so that manufacturers can mislead
            consumers and then rely on the ingredient list to correct those misinterpretations and
14          provide a shield for liability for the deception. Instead, reasonable consumers expect that
            the ingredient list contains more detailed information about the product that confirms other
15          representations on the packaging.
16   Williams, 552 F.3d at 939-40.
17          Fourth and finally, Defendant suggests that “consumer[s] [who] want[] to know more about the
18   cereal’s flavoring … can view the ingredient list, which will inform [them] the cereal is naturally
19   flavored.” Def. Br. at 15. But that argument is foreclosed by Williams, as just discussed.
20                          d.       The Cases Defendant Cites Are Inapposite.
21          Defendant contends that “dozens” of courts have dismissed this “type” of case over the “last
22   several years.” Def. Br. at 1. But close inspection of Defendant’s mountain of precedent reveals, at best,
23   a molehill.
24          To start with, nearly all the cases Defendant cite are from New York federal courts. Defendant’s
25   reliance on a single circuit’s cases should be the canary in the coalmine, alerting this Court that something
26   is amiss. And indeed, the Second Circuit—unlike the Ninth—considers the totality of a product’s
27   packaging, not just the information presented on the principal display panel. For example, consider Cruz
28   v. D.F. Stauffer Biscuit Co., a case Defendant calls “instructive” (Def. Br. at 14):
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 1           Plaintiffs argue that the nutritional label is insufficient to cure the front label claim due to
             its smaller font and non-concise disclosure. ... However, because courts consider the
 2           packaging as a whole, “the presence of a disclaimer or similar clarifying language may
             defeat a claim of deception” in certain circumstances.
 3
     No. 20CV2402PGGJLC, 2021 WL 5119395, at *6 (S.D.N.Y. Nov. 4, 2021), report and recommendation
 4
     adopted, No. 20CIV2402PGGJLC, 2022 WL 4592616 (S.D.N.Y. Sept. 29, 2022 (citing Fink v. Time
 5
     Warner Cable, 714 F.3d 739, 742 (2d Cir. 2013). Under Williams, 552 F.3d at 939-40, it would be
 6
     reversible error for a court to consider information in the nutritional label. Defendant’s invocation of Cruz
 7
     (as well as other New York cases) carries little weight in this District.
 8
             Even if the Court were to consider Second Circuit cases, they are unhelpful to Defendant. First,
 9
     Defendant spills much ink discussing Steele v. Wegmans Food Markets, Inc., 472 F.Supp.3d 47 (S.D.N.Y.
10
     2020). But the product at issue there was “VANILLA ICE CREAM Made with Milk, Creak and Natural
11
     Vanilla Flavor.” Id. at 49 (emphasis added). Contrary to the label in Steele, Defendant’s Products do not
12
     have “flavored” on their principal display panels—as a matter of language, “Chocolate Banana” cereal,
13
     for example, is not the same as “Chocolate Banana Flavored” cereal. Moreover, the Plaintiffs in Steele
14
     conceded that the product did contain some vanilla. Id. at 50. Here, by contrast, Plaintiff alleges that
15
     Catalina Crunch “do[es] not contain the promised ingredients.” Compl. at ¶ 3. Steele does not support
16
     Defendant’s argument.
17
             Cosgrove v. Blue Diamond Growers, No. 10 Civ. 8993 (VM), 2020 WL 7211218 (S.D.N.Y. Dec.
18
     7, 2020), is likewise distinguishable and unhelpful to Defendant. There, the plaintiffs complained that a
19
     vanilla almond milk product was “not flavored by ‘authentic’ vanilla.” Cosgrove v. Blue Diamond
20
     Growers, No. 19 CIV. 8993 (VM), 2020 WL 7211218, at *1 (S.D.N.Y. Dec. 7, 2020) (emphasis added).
21
     In other words, the Cosgrove plaintiffs understood that they were buying a vanilla flavored product. The
22
     present matter, however, arises because Plaintiff believed that premium ingredients were present in
23
     Defendant’s Products. As already discussed, Defendant is simply wrong in its claim that this is a
24
     “‘flavor’” case[.]” Def. Br. at 1.
25
             Tellingly, the most analogous Second Circuit case to the present matter is one Defendant does not
26
     discuss at all. In Budhani v. Monster Energy Co., 527 F. Supp. 3d 667, 679 (S.D.N.Y. 2021), the court
27
     found that a reasonable consumer could believe the defendant’s “vanilla cream” espresso drinks
28

                                                          13
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 1   “contain[ed] some non-negligible amount of extract derived from a vanilla bean.” It reached that

 2   conclusion because:

 3          [U]nlike in the vanilla cases cited above where courts have dismissed claims on the
            pleadings, Defendant does not use the mere unadorned word “vanilla” without any
 4          accompanying language or message. Rather, it uses the image of a vanilla flower. The
            flower is conveyed prominently, next to the image of a coffee bean, and alongside the use
 5          of the word “vanilla.”
 6   Id. The same is true here. Defendant color-codes its product packaging to the absent characterizing

 7   ingredients, and (in all but the “Honey Graham” variety) uses photorealistic vignettes to convey a message

 8   to consumers: these are not mere flavors, but rather ingredients contained in the cereals.

 9          D.      Defendant’s Preemption Arguments Fail.
10                  1.      Federal Law Does Not Impliedly Preempt Plaintiff’s UCL
                            “Unlawful” Claim.
11
            Defendant argues that Plaintiff attempts to enforce the FDCA through her UCL claim, which is
12
     impliedly preempted under Buckman Co. v. Plaintiffs’ Legal Committee, 531 U.S. 341, 353 (2001). Def.
13
     Br. at 17). As explained below, Defendant is incorrect.
14
            In Buckman, the plaintiffs’ brought a state tort claim against a medical device manufacturer that
15
     made fraudulent representations to the FDA. Id. at 343-45. The Court held that the plaintiffs’ state-law
16
     “fraud-on-the-FDA” claim conflicted with federal law because the FDA is empowered with the ability to
17
     punish and deter fraud perpetrated against it. Id. at 348. The Court determined that the plaintiffs’ claims
18
     were entirely based on the FDCA requirements and allowing the claims to proceed would “exert an
19
     extraneous pull on the scheme established by Congress.” Id. at 352-53. Thus, the Court held the claims
20
     were based entirely on the FDCA and were therefore impliedly preempted by federal law. Id. at 348, 352-
21
     53. Thus, Buckman stands for the proposition that private claims that seek to enforce the FDCA are
22
     impliedly preempted. Id. 348, 352-53. “The plaintiff must be suing for conduct that violates the FDCA
23
     (or else his claim is expressly preempted []), but the plaintiff must not be suing because the conduct
24
     violates the FDCA (such a claim would be impliedly preempted under Buckman ).” Perez v. Nidek Co.,
25
     711 F.3d 1109, 1120 (9th Cir. 2013).
26
            The FDCA preemption provision preserves parallel state law claims, and the Sherman Law adopts
27
     the FDCA in whole, thus, claims based upon the Sherman Law avoid preemption. Vassigh v. Bai Brands
28

                                                         14
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 1   LLC, No. 14-CV-05127-HSG, 2015 WL 4238886, at *5 (N.D. Cal. July 13, 2015) (“The Sherman Law

 2   expressly adopts the requirements of the FDCA as obligations under California law, see Cal. Health &

 3   Safety Code § 110670, and California law further provides a mechanism for private parties to enforce

 4   those obligations through the ‘unlawful’ prong of the UCL[.]”). As explained by Judge Orrick in Brown

 5   v. Van’s Int’l Foods, Inc., the proposition that Buckman applied to implied preemption claims under the

 6   UCL’s unlawful prong failed because:

 7          [W]hen Congress passed the FDCA and its subsequent amendments creating national
            uniform nutrition labeling, it expressly preempted state law that was inconsistent with its
 8          requirements. But Congress did not attempt to completely preempt state laws regarding
            the marketing of food products. It specifically anticipated states enacting their own
 9          identical laws. State laws are only preempted if they are not equal to, or substantially
            identical to, requirements imposed by or under the [FDCA]. California complied with this
10          requirement in passing the Sherman Law, which expressly adopts the federal labeling
            requirement.
11
     2022 WL 1471454, at *7 (citations and quotation marks omitted). The court noted that the plaintiff was
12
     not seeking to enforce the FDCA, but rather, relied on the FDCA and FDA regulations only to the extent
13
     that those laws were enacted under state laws like the Sherman Law, UCL, FAL, and CLRA. Id. *7. Other
14
     courts in this District agree. See Brown v. Food for Life Baking Co., Inc., No. 21-CV-10054-TLT, 2023
15
     WL 2637407 (N.D. Cal. Feb. 28, 2023) (finding that the plaintiff’s claims were not impliedly preempted
16
     because the Sherman Law mirrors the FDCA and because plaintiffs disclaimed brining any claim under
17
     the FDCA.); Roffman v. Rebbl, Inc., No. 22-CV-05290-JSW, 2023 WL 1420724, at *5 (N.D. Cal. Jan.
18
     31, 2023) (concluding that the plaintiff’s claims were not impliedly preempted because “she disclaims
19
     causes of action under the FDCA and regulations promulgated by the FDA and relies on them only to the
20
     extent such laws and regulations have been separately enacted as state law or regulation or provide a
21
     predicate basis of liability for her enumerated claims for relief” and because her claim paralleled federal
22
     requirements) (internal quotation marks omitted); Pino v. Birch Benders, LLC, No. 22-CV-02194-TSH,
23
     2022 WL 4913320, at *4 (N.D. Cal. Oct. 3, 2022) (finding that the plaintiff’s claims were not barred by
24
     implied preemption because the plaintiffs relied “on the FDCA and FDA regulations only to the extent
25
     such laws and regulations have been separately enacted as state law or regulation or provide a predicate
26
     basis of liability under the state and common laws.”).
27

28

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 1          Here, Plaintiff’s claims do not seek to impose any labeling requirement different from those under

 2   federal law. The Sherman Law adopts the FDCA and its regulations, which require Defendant’s Products

 3   to disclose that they are flavored. Defendant’s failure to do so was unlawful and violated the Sherman

 4   Law. Thus, Plaintiff’s UCL claim is not preempted under Buckman.

 5                  2.      The Court of Appeals’ Nexus Decision Is Inapplicable To
                            Consumer Protection Claims.
 6
            Defendant argues that Nexus Pharmaceuticals Inc., v. Central Admixture Pharmacy Services, Inc.,
 7
     48 F.4th 1040 (9th Cir. 2022) overruled the majority approach to implied preemption discussed above,
 8
     and mandated the outlier view advanced by Judge Seeborg in Chong v. Kind LLC, 585 F.Supp.3d 1215
 9
     (N.D. Cal. 2022). But Nexus did no such thing.
10
            Chong held that, to avoid preemption, a traditional state tort law had to predate the FDCA. Chong,
11
     585 F.Supp.3d at 1219. And as the Sherman Law post-dated the FDCA, it was a fortiori preempted. 585
12
     F. Supp. 3d at 1219. But as Judge Orrick has explained:
13
            Neither Buckman nor Stengel held that state statutory claims must predate the FDCA to
14          avoid preemption; Chong cites language from the Stengel concurrence to find otherwise.
            Stengel actually held that the FDCA does not preempt a state-law claim for violating a
15          state-law duty that parallels a federal-law duty under the [FDCA].
16   Brown, 2022 WL 1471454, at *8 (citation and quotation marks omitted). Thus, Chong is inapplicable to

17   claims of implied preemption. Indeed, in Effinger v. Ancient Organics, LLC, No. 22-cv-03596-RS, 2023

18   WL 2214168, at *3, Judge Seeborg acknowledges his departure from other courts in this District on the
19   issue of preemption.

20          In Nexus, the Ninth Circuit addressed preemption in the context of pharmaceutical compounding.

21   The plaintiff trademarked and obtained FDA approval for a drug. 48 F.4th at 1042. The defendant

22   operated compounding pharmacies that compounded its own version of that drug without FDA approval.

23   Id. The plaintiff sued, alleging that the defendant’s drug was “essentially a copy” of its own and that it

24   was harmed economically based on the defendant’s violation of the FDCA. Id. at 1043, 1049. The Ninth

25   Circuit held that the plaintiff’s claims required proof that the defendant’s drug lacked FDA approval and

26   violated a provision of the FDCA “essentially a copy” provision. Id. at 1048-49. In this instance, implied

27   preemption applied because the plaintiff’s claims rested on its interpretation of the “essentially a copy”

28   provision—“a task reserved for the FDA.” Id. at 1050-51.

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 1          Nexus applies Buckman and does not discuss Chong. Moreover, there is no indication that it

 2   applies to the consumer protection statutes at issue here. Consequently, its rationales do not apply to the

 3   claims alleged by Plaintiff. Indeed, Plaintiff’s claims do not seek to enforce the FDCA. Rather, Plaintiff

 4   relies on the FDCA and FDA regulations only to the extent that the laws were enacted or incorporated

 5   into the Sherman Law. See Compl. at ¶ 68. Thus, Plaintiff’s claims are not preempted under Nexus.

 6                  3.      Plaintiff’s Claims Are Not Expressly Preempted.
 7          Finally, Defendant baldly asserts that its conduct somehow complied with 21 C.F.R. § 101.22,

 8   and that Plaintiff’s state law claims are thus preempted. Defendant is correct that insofar as state law

 9   claims are expressly preempted if they are not identical to the FDCA. 21 U.S.C. § 343-1(a); Brown, No.

10   2023 WL 2637407, at *3 (“State claims that are not identical to the Food, Drug, and Cosmetic Act

11   (“FDCA”) are expressly preempted. 21 U.S.C. § 343-1(a).”). However, Defendant has failed to show that

12   its packaging complies with the FDCA. And as discussed above, Defendant cannot show compliance with

13   the FDCA because the word “flavored” is lacking on the Products packaging.

14          The fundamental problem with Defendant’s argument is it asks the wrong question. Defendant

15   frames the inquiry as whether consumers “commonly expect rectangular squares of keto-friendly, zero

16   sugar, cold cereal to contain the food ingredient banana, apple, mint or honey.” Def. Br. at 19. But as the

17   court explained in Schwartz:

18          [While] plain shortcake may not commonly be expected to contain strawberries or any
            other fruit ingredient, strawberry shortcake is expected to contain strawberries. …
19          Likewise, while bottled water may not commonly be expected to contain fruit, bottled
            water labeled “Antioxidant Cocofusion Andes Coconut Lime” could be expected to
20          contain coconut and lime.
21   2020 WL 5875019, at *4 (emphasis original). Here too, a cereal labeled “Chocolate Banana” could be

22   expected to contain banana. The same applies for apple or apple cider in “Apple Cider Donut”, mint for

23   “Mint Chocolate”, and honey for “Honey Graham.” A reasonable consumer expects that the product

24   contains banana, apple or apple cider, mint and honey, respectively.

25          Plaintiff plausibly alleged that the name of Defendant’s Products (as well as the vignettes and the

26   packaging color scheme) leads reasonable consumers to believe that banana, apple or apple cider, honey

27   and actual ingredients in the Products, as opposed to mere flavor notes. Defendant’s failure to label these

28   cereals as flavored violated FDCA requirements. Thus, Plaintiff’s claims are not expressly preempted.

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 1   Marino, 2022 WL 16912389, at *1 (declining to find express preemption where the plaintiff plausibly

 2   alleged facts to support that the food labels did not comply with FDA requirements because the food label

 3   did not say “flavored”).

 4          E.      Plaintiff Adequately Pled A Claim of Breach Of Implied Warranty
                    Of Merchantability.
 5
                    1.      Plaintiff’s Implied Warranty Claim Survives For The Same
 6                          Reasons As Her UCL, FAL, And CLRA Claims.
 7          Defendant argues that Plaintiff’s breach of implied warranty claim fails because she failed to

 8   plausibly allege a misrepresentation. Def. Br. 16. Defendant is wrong. The implied warranty of

 9   merchantability requires goods to “[c]onform to the promises or affirmations of fact made on the container

10   or label.” Cal. Com. Code § 2314(2)(f). Plaintiff plausibly alleged that Defendant’s Products are

11   misleadingly labeled. See discussion supra IV. Argument.C.2; Comp. Compl. at ¶¶ 86-88. Accordingly,

12   Plaintiff’s implied warranty claim survives.

13                  2.      Privity Is Not Required.
14          Defendant wrongly claims privity is required for Plaintiff to sustain a claim for breach of implied

15   warranty. Def. Br. 19-20. Plaintiff is not required to be in vertical privity with Defendant because

16   California law recognizes a foodstuffs exception to the privity requirement. See Mexicali Rose v. Super.

17   Ct., 1 Cal. 4th 617, 621 (1992) (“foodstuffs do not fall within the general rule of privity between the

18   manufacturer and the consumer, even though the purchase is made through a retailer”) (citation omitted).
19   Therefore, “privity of contract is not required when an implied warranty claim relates to substances

20   intended for human consumption.” Cabrera v. Bayer Healthcare, LLC, No. LACV1708525JAKJPRX,

21   2019 WL 1146828, at *10 (C.D. Cal. Mar. 6, 2019); Ashton v. J.M. Smucker Co., No.

22   EDCV20992JGBSHKX, 2020 WL 8575140, at *12 (C.D. Cal. Dec. 16, 2020) (“As the consumers who

23   purchased the [ground coffee] products, Plaintiffs need not show vertical privity with Defendants, as they

24   are the intended beneficiaries of the warranties.”).

25          Here, the Products are cereals meant for human consumption. Hence, Plaintiff’s claims are

26   squarely exempt from the privity requirement.

27          Defendant muddies the waters by arguing that the foodstuffs exception does not apply because

28   Plaintiff does not allege that the Products are unfit for human consumption. Def. Br. 20. Defendant rests

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 1   its argument on Burr v. Sherwin Williams Co., 42 Cal.2d 682 (1954). But in Burr, the California Supreme

 2   Court stated that “an exception to the requirement of privity has been made in cases involving foodstuffs,

 3   where it is held that an implied warranty of fitness for human consumption runs from the manufacturer

 4   to the ultimate consumer regardless of privity of contract.” Id. at 695. Thus, the foodstuffs exception

 5   requires that a product just be meant or intended for human consumption. See Ashton, 2020 WL 8575140,

 6   at *12 (stating that “because the Products are foodstuffs meant for human consumption, Plaintiffs are

 7   further exempt from the privity requirement” on a breach of implied warranty claim); Cabrera, 2019 WL

 8   1146828, at *11 (C.D. Cal. Mar. 6, 2019) (“Privity is not required when the claim relates to food or other

 9   substances intended for consumption by consumers.”).

10          In Defendant’s last attempt to show why Plaintiff’s claim of breach of implied warranty cannot

11   survive, it argues that a consumer’s reliance on labels and advertising applies to only express warranty

12   claims. Def. Br. 20. Again, Defendant advances an argument already rejected by this District.

13          In Young v. Neurobrands, LLC, No. C 18-05907 JSW, 2019 WL 13247942, at *6 (N.D. Cal. Feb.

14   19, 2019), the plaintiffs alleged that defendant’s “label representations created implied warranties that the

15   product was …an exclusively naturally-flavored beverage product containing no artificial flavors.” The

16   defendant argued that that the breach of implied warranty required the plaintiffs to establish that the

17   product was not reasonably fit for human consumption. Id. The court determined that defendant’s

18   argument was based “upon the implied warranty of merchantability, not the actual claim pled by [the
19   p]laintiffs based upon the implied warranty that a product is suitable for a particular purpose.” Id.

20          Other courts have also determined that the implied warrant of merchantability is breached when

21   products fail to conform to the promises or affirmations contained on packaging or label. Martinez v.

22   Metabolife Internat., Inc., 113 Cal. App. 4th 181, 189, 6 Cal. Rptr. 3d 494, 500 (2003) (“the implied

23   warranty of merchantability, which arises by operation of law, is breached when the goods do not conform

24   to the promises or affirmations contained on the container or label or are not fit for the ordinary purposes

25   for which the goods are used.”); Quiroz v. Sabatino Truffles New York, LLC, No. SACV170783DOCKES,

26   2017 WL 8223648, at *11 (C.D. Cal. Sept. 18, 2017) (holding that a breach of implied warranty of

27   merchantability claim was adequate where the plaintiffs alleged that the product did not conform to its

28

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 1   labels’ promise or affirmation that it contained an ingredient, because testing revealed the oil in fact does

 2   not contain that ingredient).

 3          Plaintiff has alleged that Defendant’s Products do not conform to the promises or affirmation of

 4   fact advertised on the label. Defendant’s product label representations created implied warranties that the

 5   product contained premium ingredients such as banana, apple or apple cider, mint, or honey as indicated

 6   on the product label. Compl. at ¶ 88. Defendant’s Products fail to include any such ingredients, but rather,

 7   use “natural flavors.” Accordingly, Defendant’s Products fail to conform to the affirmations it makes on

 8   its labels. Plaintiff’s claim of breach of implied warranty therefore survives.

 9                                           V. LEAVE TO AMEND
10          In the event the Court grants any aspect of Defendant’s Motion opposed by Plaintiff, leave to

11   file a First Amended Complaint is respectfully requested.

12          Fed. R. Civ. P. 15(a)(2) states that a court should “freely give leave” to a party seeking to amend

13   its pleading “when justice so requires.” See Foman v. Davis, 371 U.S. 178, 182 (1962) (“Rule 15(a)

14   declares that leave to amend ‘shall be freely given when justice so requires’; this mandate is to be

15   heeded.”). In compliance with this mandate, the “the Ninth Circuit has a liberal policy favoring

16   amendments and, thus, leave to amend should be freely granted.” Figy v. Frito-Lay N. Am., Inc., 67 F.

17   Supp. 3d 1075, 1081 (N.D. Cal. 2014).

18          A court may deny leave to amend where there is “undue delay, bad faith or dilatory motive [],
19   repeated failure to cure deficiencies by amendments previously allowed, undue prejudice to the

20   opposing party by virtue of allowance of the amendment, [or] futility of amendment[.]” Foman, 371

21   U.S. at 182. But none of those circumstances exist here, and thus, Plaintiff’s request for leave to file a

22   First Amended Complaint should be granted.

23                                              VI. CONCLUSION
24          For the foregoing reasons, Defendant’s Motion warrants denial.

25

26                                                         Respectfully submitted,

27
     Date: April 4, 2023                                   By: /s/ Benjamin Gubernick
28                                                         Benjamin Gubernick (SBN 321883)
                                                         20
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